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                                  KP-0441
                              
                        
          
        
      
    
  

  

  
    
      KP-0441
              Ken Paxton
                  
        Categories
                        
Conflicts of Interest
              , 
Courts and Judges
              , 
Dual Office Holding
        
      
            
                  Summary
                      Simultaneous service of a magistrate appointed under Government Code chapter 54 as staff legal counsel for the appointing judge or judges and for the other appointed magistrates
      
                          
            Opinion File
                         kp-0441.pdf 

      
          
                
        
      
    

          
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    RQ-0476-KP

      
  
                August 25, 2022

      
  
      
      
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                     RQ0476KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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